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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                               )
PETER P. STRZOK,                               )
                                               )
              Plaintiff,                       )
                                               )   Case No. 1:19-CV-2367-ABJ
       v.                                      )
                                               )
WILLIAM P. BARR, in his official capacity      )
as Attorney General of the United States, et   )
al.,                                           )
                                               )
              Defendants.                      )
                                               )
                                               )


MEMORANDUM IN REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
       OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

        Defendants’ opening brief explained why Plaintiff cannot prevail on any of his claims, and

Plaintiff has not provided any reason in his opposition that the Court should allow his claims to go

forward. Plaintiff’s refrain throughout his opposition is that the Court should not decide his claims

yet because he needs additional information that he intends to obtain through discovery. The flaws

in Plaintiff’s case, however, cannot be cured by obtaining additional information, because his

claims for relief fail as a matter of law. And while some areas of factual disputes may exist, none

of them constitutes a material fact about which there is any genuine dispute.

        Plaintiff’s First Amendment claim lacks merit, and Defendants should prevail, even at this

early stage, under the framework established in Pickering v. Board of Education, 391 U.S. 563

(1968). Plaintiff works hard to try to convince the Court that it need not engage in the Pickering

balancing, but Plaintiff’s arguments are unconvincing, as courts routinely apply Pickering in

similar circumstances. Plaintiff’s pretext argument also goes nowhere, because there is no dispute

that Plaintiff was, in fact, dismissed based as a result of his speech. As Defendants have explained,

moreover, the Pickering balancing tips far in the Defendants’ favor in light of the senior leadership

position Plaintiff held within the FBI and the clear disruption Plaintiff’s actions had on the FBI’s

ability to operate effectively.

        Nor can Plaintiff cannot succeed on his claim that the FBI violated the Due Process Clause

of the Constitution. As Defendants have explained, because Plaintiff was a member of the FBI’s

Senior Executive Service (SES) when he was dismissed, Plaintiff lacked any protected property

interest in his position under the comprehensive Civil Service Reform Act (CSRA). Plaintiff’s

status under the CSRA is dispositive, and Plaintiff cannot save his due process claim based on an

alleged contractual right created through the “‘Last Chance’ Adjudication Agreement” document



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executed in July 2018. That document—which was not a contract, as a matter of law—imposed

no obligations on the FBI. But, even if Plaintiff did have some cognizable, protected interest, he

received notice of the basis for the disciplinary action against him, as well as the potential

consequences (i.e., dismissal) and an opportunity to defend himself, which is all the Due Process

Clause requires.

       Notably, if the Court were to agree with Plaintiff’s argument that he had been effectively

demoted from the SES just prior to his dismissal from the FBI, thereby regaining a property interest

in his continued employment under the CSRA, the outcome would not be what Plaintiff wants

here, survival of his Complaint beyond Rule 12(b)(6). Rather, the outcome would be dismissal of

his employment claims for lack of subject-matter jurisdiction under the CSRA. Of course, an

initial decision of the Merit Systems Protection Board (MSPB), to which Plaintiff initially

appealed his removal, determined that the MSPB lacked jurisdiction over his appeal precisely

because he was excluded from CSRA protections against removal by virtue of his SES status,

which it held he never lost (rejecting largely the same arguments he makes now). The initial MSPB

decision was correct. But even if not, Plaintiff’s recourse under the CSRA’s comprehensive

scheme would not be to raise a due process challenge in this Court under the theory that the CSRA

provides him a property interest in his job, but rather would be to seek to convince the full MSPB

that its initial decision was wrong, and from there to pursue judicial review before the Federal

Circuit.

       Finally, Plaintiff’s Privacy Act claim also fails. Plaintiff has not adequately pleaded a

viable Privacy Act claim regarding his unsupported speculation that the Department used the

White House as a conduit to leak Plaintiff’s texts. In any event, Plaintiff’s suggestion that Congress

limited communications from an Executive Branch agency to the President or his advisors through



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the Privacy Act, would raise serious separation-of-powers concerns that this Court need not

address in the absence of a reasonable basis to think that Plaintiff’s allegations go beyond mere

speculation and in the absence of a clear indication that Congress intended the Privacy Act to have

that result.

        It is also now beyond dispute that Plaintiff has no viable Privacy Act claim with respect to

the Department’s disclosure of his texts to the media on December 12, 2017. For the reasons

Defendants have already explained and as described in the declaration of Peter Winn, that

disclosure falls squarely within a published routine use and therefore did not run afoul of the

Privacy Act. Plaintiff’s opposition faults Defendants for failing to provide a declaration from the

official who made the decision on behalf of the Department. To address this concern, however,

Defendants now submit a declaration from then–Deputy Attorney General Rod Rosenstein, who

authorized the disclosure on behalf of the Department. Mr. Rosenstein’s declaration confirms

Defendants’ account and removes any doubt that the disclosure was consistent with the Privacy

Act—even if Plaintiff could show that the disclosure was somehow inconsistent with the Privacy

Act—the Department did not intentionally or willfully violate the statute.

                                           ARGUMENT

I.      PLAINTIFF’S FIRST AMENDMENT CLAIM LACKS MERIT.

        A.     The Pickering Balancing Applies to Plaintiff’s First Amendment Claim.

        Plaintiff dedicates a significant portion of his opposition brief to arguing that Pickering

balancing does not apply to his First Amendment claim. See Pl. Mem. at 8-14. But that is a red

herring. It is well-established that “[a] public official seeking to make out a claim of retaliation in

violation of [his] First Amendment rights must meet [the] four-factor test” articulated in Pickering

and its progeny. O’Donnell v. Barry, 148 F.3d 1126, 1133 (D.C. Cir. 1998). Notwithstanding



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Plaintiff’s allegations of viewpoint discrimination and pretext, there is no basis for eschewing the

Pickering analysis here.

       Plaintiff first asserts that the Court should jettison the Pickering framework because

“Defendants . . . committed the standalone First Amendment violation by practicing viewpoint

discrimination.” Mem. in Opp. To Mot. to Dismiss or in the Alternative, for Summ. J. (“Pl. Mem.”)

at 9, ECF No. 36. But as a former government employee, Plaintiff’s viewpoint discrimination

claim and his retaliation claim are essentially one and the same: Plaintiff alleges that he was

dismissed from the rolls of the FBI for expressing a critical view of the President.1 See id. at 8; see

also Compl. ¶¶ 29, 48-49, ECF No. 1. Accordingly, this Court must assess Plaintiff’s First

Amendment claim under the four-factor Pickering, as other courts have done in cases where an

employee alleges that his dismissal was motivated by disagreement with the content of his speech.

See, e.g., Locurto v. Giuliani, 447 F.3d 159, 164, 176-77 (2d Cir. 2006) (police officers terminated

for exhibiting racist speech and behavior at a parade); Hall v. Ford, 856 F.2d 255, 257 (D.C. Cir.

1988) (athletic director terminated for expressing views critical of the Athletic Department).

       But even if the Court were to treat Plaintiff’s allegations as raising a standalone viewpoint

discrimination claim, it is entirely speculative that, “if [Plaintiff’s] text messages had expressed

animus toward Secretary Clinton and reverence for Candidate Trump, he would still be employed

by the FBI,” Pl. Mem. at 8. Plaintiff avers that “the Trump Administration . . . tolerate[s] and even



       1
          Plaintiff also argues—in a single sentence—that “Defendants’ failure to . . . address” his
allegations about viewpoint discrimination in the Motion to Dismiss “should be treated as an
admission.” Pl. Mem. at 14. That is incorrect. Defendants explained why Plaintiff’s allegations
that “he was removed from his position because of the political viewpoints he expressed in the text
messages . . . specifically his statements critical of first Candidate, and then President, Trump,”
failed to state a First Amendment claim “as a matter of law.” Mem. in Supp. of Defs. Mot. to
Dismiss or, in the Alternative, for Summ. J. (“Defs. Mem.”) at 15, ECF No. 30-1; see also id. at
15-27.

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encourage[s] partisan political speech . . . , as long as this speech praises President Trump,”

Compl. ¶ 23, and alleges examples of such conduct by “the Trump Administration,” see id. ¶¶ 23-

25. Even assuming the truth of these assertions for the sake of argument, Plaintiff offers no basis

to impute this alleged motive to the actual decision maker in this case, FBI Deputy Director (DD)

Bowdich. Indeed, the Complaint itself is devoid of any allegations that suggest DD Bowdich, a

career public servant at the FBI, removed Plaintiff because he disagreed with Plaintiff’s views,

rather than for the reasons he identified in his decision letter.2

        Plaintiff next argues that his speech is categorically exempt from Pickering balancing

because he intended the texts on his FBI-issued cell phone with a colleague to be private. See Pl.

Mem. at 9. As an initial matter, whatever Plaintiff actually intended, he had no reasonable

expectation that messages exchanged on his FBI-issued phone would remain between him and his

interlocutor. As every government employee should know, communications on government

devices are subject to monitoring. That fact should have been particularly clear, of course, to

Plaintiff, as the then-Deputy Assistant Director of the FBI’s Counterintelligence Division.

Plaintiff’s text could be (and ultimately were) subject to collection by the Office of the Inspector

General (OIG). See A Review of Various Actions by the Federal Bureau of Investigation and

Department of Justice in Advance of the 2016 Election, June 2018 at 395-96, https://www.

justice.gov/file/1071991/download (OIG Report). And they were subject to disclosure (and, in

fact, disclosed) as potentially exculpatory information in a criminal prosecution arising out of the




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         Plaintiff also claims that the texts of certain FBI agents working on the investigation into
Russian interference also suggests that Plaintiff was dismissed because of his viewpoints. See Pl.
Mem. at 13-14. But such conduct only recently came to light. And Plaintiff’s Complaint does not
allege that DD Bowdich was aware of those texts when he made the decision to dismiss Plaintiff.

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Special Counsel’s investigation. See Part III.A, infra. For all these reasons, they are simply not

analogous to oral “water-cooler” conversations, as Plaintiff claims. Pl. Mem. at 19.

        Even putting aside that Plaintiff had no reasonable expectation of privacy in his texts,

Plaintiff’s argument that his intent that the messages remain private means this case should proceed

to discovery cannot be right. “Where and when . . . statements are made . . . is only a factor. No

Talismanic or determinative significance attaches to it.” Pappas v. Giuliani, 290 F.3d 143, 150 (2d

Cir. 2002) (holding that “the fact that [the plaintiff] acted anonymously, at home, and on his own

time does not alter the ultimate conclusion that [the defendant] was entitled to dismiss him because

of the harm to the [police department] that [plaintiff’s] statements risked to inflict”). In fact, courts

routinely apply Pickering balancing to government employee speech that is not directed to the

public. See, e.g., Waters v. Churchill, 511 U.S. 661, 664 (1994) (“conversation [that] took place at

work during a dinner break”); Rankin v. McPherson, 483 U.S. 378, 389 (1987) (majority) (“private

conversation with another employee”); O’Donnell, 148 F.3d at 1133 (one-on-one conversation

with supervisor); Pappas, 290 F.3d at 145 (anonymous mailing); Sheppard v. Beerman, 94 F.3d

823, 825 (2d Cir. 1996) (one-on-one conversation with supervisor).

        To be sure, “the manner, time, and place of [an] employee’s expression are relevant” to the

Pickering analysis. Rankin, 483 U.S. at 388. But the manner, time, and place of Plaintiff’s

speech—including the use of vituperative language on a government-issued phone intended for

use in carrying out official government duties—supports Defendants’ position under Pickering.

And more to the point here, Plaintiff has failed to cite a single case—nor are Defendants aware of

any—that holds speech by a government employee is altogether exempt from Pickering balancing

as long as the employee intended his speech to remain private. Moreover, Plaintiff himself

concedes that Pickering balancing applies to speech “directed to workplace superiors or the



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government.” Pl. Mem. at 9 n.2 (citing cases in this District). Here, Plaintiff sent his texts from his

FBI-issued cell phone to a colleague, commenting on matters relevant to highly sensitive

investigations that Plaintiff himself was leading. Accordingly, even under Plaintiff’s reading of

the case law, his speech is subject to the Pickering four-factor test.

       Finally, Plaintiff’s allegations of “pretext” also miss the mark. This is not a case where

Defendants have proffered a reason for Plaintiff’s dismissal other than those stemming from the

speech at issue. To the contrary, DD Bowdich, the ultimate decision maker in this case, expressly

stated in Plaintiff’s dismissal letter that a basis for Plaintiff’s termination was his “making

inappropriate political comments in text messages on [his] FBI-issued cell-phone.” Def. Mem.,

Ex. 6 (Bowdich Letter) at 1, ECF No. 30-7. As DD Director Bowdich explained in his decision

letter, it was because the content of Plaintiff’s texts “called into question the decisions made during

both the Clinton E-Mail investigation and the initial stages of the Russian collusion investigation”

and “the credibility of the entire FBI,” that Plaintiff was being terminated, not suspended. Id. at 2.

       Contrary to Plaintiff’s assertion, therefore, the fact that DD Bowdich considered the

public’s perception of Plaintiff’s texts does not mean that his actual motive for firing Plaintiff was

disagreement with the views expressed. See Pl. Mem. at 10-11 (citing Sheppard, 94 F.3d at 828).

Plaintiff’s own cited case, Locurto, 447 F.3d 159, holds as much. There, former New York City

police and fire department employees brought suit against then-Mayor Giuliani and the City of

New York after they were terminated for participating in a parade float in blackface and chanting

racist statements. See id. at 164. The district court found for the terminated employees, holding

that “the defendants did not, in fact, . . . dismiss [them] in response to any reasonable concern for

disruption of NYPD and FDNY operations but rather, and distinctly, ‘in response to the content of

their speech and for reasons of public perception and the political impact expected to flow



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thereof.’” Id. at 176 (quoting Locurto v. Giuliani, 269 F. Supp. 2d 368, 395 (S.D.N.Y. 2003)). The

Second Circuit reversed. The court reasoned: “[T]he . . . dichotomy between the defendants firing

the plaintiffs ‘out of a concern for potential disruption’ as against their doing so ‘for reasons of

public perception’ or ‘in response to the content of plaintiffs’ speech,’ is a false one.” Id. at 179

(quoting Locurto, 269 F. Supp. 2d at 395). So too here.

       Plaintiff also cites Sheppard, 94 F.3d 823, but that case provides no help for his argument

either. In Sheppard, the Second Circuit held that the district court erroneously dismissed the

plaintiff’s complaint because he successfully alleged facts that “may tend to show that [the

defendant’s] actual motive for firing [him] was the content of his speech”—that is, Plaintiff’s threat

to expose the defendant’s judicial misconduct—“and not [the defendant’s] fear that [the plaintiff]

would disrupt the office work environment.” Id. at 828. Specifically, the court pointed to the fact

that Plaintiff had alleged that the defendant “embarked on a course of conduct . . . designed to . . .

punish [him] . . . and to prevent him from disclosing [the] misconduct” by “seiz[ing] [his] files,

gratuitously t[elling] others that [he] was insubordinate and was fired for that insubordination, and

ask[ing] (or even instruct[ing]) others not to talk with [him].” Id. at 829. This case is

distinguishable. Plaintiff has not alleged any facts that demonstrate DD Bowdich wished to

retaliate against him for the views expressed in his texts. Moreover, the circumstances of DD

Bowdich’s alleged actions—that he initially told Plaintiff that his texts would not end his career at

the FBI and that his decision to terminate Plaintiff occurred months after the texts were originally

reported on—are consistent with his explanation that the decision to dismiss Plaintiff was

motivated by his assessment of the ongoing reputational damage that accrued to the FBI. See

Bowdich Letter at 1-2; see also generally Def. Mem., Ex. 4 (Will Letter), ECF No. 30-5.




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       Accordingly, the correct framework for analyzing Plaintiff’s First Amendment claim is the

Pickering balancing test. And, under that test, Plaintiffs’ First Amendment claim should be

dismissed, as discussed below.

       B.      Defendants Are Entitled to Summary Judgment under the Pickering
               Analysis.

       Plaintiffs’ Pickering analysis—and, indeed, his entire brief—is remarkable in that it utterly

fails to acknowledge his high-level position at the center of two of the most important

investigations in the FBI’s recent history. Defendants have not argued—contrary to Plaintiff’s

claim—that “the American taxpayers didn’t get their money’s worth from Mr. Strzok’s service.”

See Pl. Mem. at 25. Rather, Defendants have acknowledged Plaintiff’s long, dedicated career. Yet,

Plaintiff’s distinguished career notwithstanding, he exchanged numerous texts on a government-

issued device that created serious questions of actual or perceived political bias in the execution

of his law-enforcement duties. That conduct even suggested that he may take steps to actively

influence investigations into either then-candidate Trump or former Secretary Clinton, potentially

undermining the proper functioning and public confidence in the FBI’s non-partisan investigate

function. See, e.g., OIG Report at xii (stating “[w]e’ll stop it” in response to a question of whether

then-candidate Trump would ever be president). Plaintiff’s opposition ignores the very serious

implications of those statements—and their detrimental effect on the FBI’s reputation—brushing

them off as akin to mere “water-cooler” conversations.

       Plaintiff’s analysis also almost entirely ignores that, as the Deputy Assistant Director for

the Counterintelligence Division, he held a senior leadership position within the FBI, which

reduced the “government’s burden of proving interference with its interest.” Hall, 856 F.2d at 261

(citing Rankin, 483 U.S. at 390-91). Plaintiff tries to distinguish his position from the one held by

the university athletic director plaintiff in Hall, suggesting, against all odds, that Plaintiff’s role


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was somehow less important. See Pl. Mem. at 23-24. Yet, given his role and the vital national

interest in the relevant investigations Plaintiff led, and Plaintiff’s high-level position, there can be

no doubt that the government’s interest here is at least as significant as it was in Hall. And given

Plaintiff’s singular position overseeing critically important investigations involving former

Secretary Clinton’s e-mail use and Russian interference with the 2016 presidential campaign,

Defendants’ analysis would not, as Plaintiff claims, subject each of the “[r]oughly eight thousand

other SES-level managers” to discipline based on their private conversations. See Pl. Mem. at 24.

As a key player in those investigations, Plaintiff held a special role of importance within the FBI

in matters that touched on the proper functioning of our national democracy, and the specific

position he held is highly relevant to the Pickering balancing. See Navab-Safavi v. Glassman, 637

F.3d 311, 317 (D.C. Cir. 2011) (drawing a distinction between a low-level contract employee and

more senior figures within the organization). That is all the more true where Plaintiff’s speech

itself is related to matters over which he had substantial responsibility. The Court should therefore

reject out of hand Plaintiff’s attempt to position himself as just another interchangeable senior-

level civil servant.

        To try to manufacture a disputed question of material fact that might allow his First

Amendment claim to proceed, Plaintiff attempts to fault Defendants for not providing any “actual

evidence” that his actions disrupted the FBI’s operation. See Pl. Mem. at 20-23. Plaintiff is wrong

for at least two reasons. First, one need only look to the OIG’s July 2018 report and the pervasive

subsequent public criticism of the FBI and the Department to determine that the FBI’s reputation

and effectiveness suffered harm attributable to Plaintiff’s conduct. Taking an ostrich-like approach

to the public debate surrounding his texts cannot help Plaintiff prevail under Pickering. Second,

even ignoring the facts in the public record, however, the government need not show any evidence



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of actual harm. See Waters, 511 U.S. at 673-74. Rather, a substantial showing that the speech is

“likely to be disruptive” will suffice. Id. And here, where a high-ranking member of an

investigative team has made comments that can reasonably be construed as suggesting bias—or,

worse, as suggesting a possibility of active interference with an ongoing investigation—there is

more than sufficient evidence of a likelihood of potential disruption, which was central to DD

Bowdich’s letter dismissing Plaintiff from the FBI. See Bowdich Letter at 1-2.

       Plaintiff also attempts to brush aside the actual or potential harm Plaintiff did to the FBI

by pointing out that the Department released his text to the public on December 12, 2017. See Pl.

Mem. at 19-20. Plaintiff implies that, had the Department not done so, the texts would have

remained private, and no harm would have come to the FBI’s operations. Id. That is incorrect, as

Plaintiff should well know. Even putting aside the Department’s December 12, 2017 disclosure,

they were disclosed as potentially exculpatory information in a criminal prosecution arising out of

the Special Counsel’s investigation and then later in OIG’s report.

       Moreover, as discussed further below, the Department released Plaintiff’s texts only after

the Department determined there was no basis to withhold the texts from Congress, whose

Members are not subject to any restrictions on public disclosure. After the provision of the texts

to Congress, there is no reason to believe that some or all of them would not have become public;

indeed, it is almost certain they would have. Because Plaintiff’s messages—exchanged on a

monitored    government-issued     device—were       destined   for   public   scrutiny,   Plaintiff’s

characterization of them as “private” is simply incorrect.

       In any event, even if Plaintiff’s texts could be construed as “private,” Defendants will still

prevail under Pickering. The Second Circuit’s analysis in Pappas is highly instructive. The

plaintiff there, a New York City police officer, Tomas Pappas, anonymously mailed a number of



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racially charged diatribes in response to solicitations from charitable organizations using his

personal Post Office box. See Pappas, 290 F.3d at 145. In conducting its analysis of whether the

New York City Police Department (NYPD) permissibly dismissed him, the court assumed that

Pappas’s mailings constituted speech on a matter of public concern, and the court acknowledged

that Pickering takes into account “the plaintiff’s interest in freely speaking his mind” on such a

matter. Id. at 146. Yet, the court also explained that “[t]he effectiveness of a city’s police

department depends importantly on the respect and trust of the community and on the perception

in the community that it enforces the law fairly, even-handedly, and without bias.” Id. (citing Tom

R. Tyler, Why People Obey the Law 22-23, 67 (1990)). And on that basis, which very closely

reflects the reasons for Plaintiff’s dismissal from the FBI, the Second Circuit concluded that

Pappas’s removal did not violate the First Amendment.

       While Defendants do not intend to suggest that Plaintiff engaged in the sort of racially

bigoted communications at issue in Pappas, the Pickering balancing tips even further toward the

government here than it did there. Pappas, to start, did not hold a high-level supervisory position

within the NYPD; he was responsible only for maintenance of the NYPD’s computer systems. See

id. at 144, 148-49; see also id. at 149 (distinguishing Rankin on the basis that Pappas was a police

officer as opposed to a civilian clerical employee). Moreover, rather than using a monitored,

government-issued device, as Plaintiff did here, Pappas also sent the relevant communications

from his home. But the court found that there was still a substantial likelihood that they would

cause harm to the NYPD. See id. at 150. And it was only because the NYPD decided to initiate

disciplinary proceedings that the public ever became aware of the communications that

undermined confidence in the police force. See id. Still, the court had “little sympathy for the




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suggestion that the proper course for the Police Department,” upon learning of improper conduct,

“was to hush the matter up and keep it secret.” Id. at 150-51.

        Plaintiff is also incorrect to claim that the content of his texts were of such great public

importance that they are entitled to special protection. See Pl. Mem. at 17-18. First, no matter the

importance of the topic at hand, the FBI is still entitled to weigh its interests in forestalling potential

harm to its operations under Pickering. And second, a review of the texts, as described in the July

2018 OIG report and Defendants’ exhibits, belies Plaintiff’s suggestion that he was engaged in a

high-minded exchange of ideas worthy of particularly great weight under the Pickering balancing.

As the OIG Report noted, among Plaintiff’s texts were messages stating “OMG [Trump’s] an

idiot,” OIG Report at 399, and referring to then-Candidate Trump as a “fucking idiot” and stating

that Plaintiff could “SMELL” support for then-Candidate Trump at a “southern Virginia Walmart,”

id. at 400. Plaintiff argues that there is no requirement that “political speech be genteel,” citing

New York Times v. Sullivan, 376 U.S. 254, 270 (1964). But Plaintiff forgets the context of his

claim. When a government agency acts not in a sovereign capacity but rather that of an employer—

as the FBI did here—the character of an employee’s speech can matter a great deal under

Pickering. In particular, when courts look to the time, place, and manner of an employee’s speech

in conducting the Pickering balance, they should afford less weight to the employee’s interest

under the First Amendment where the speech at issue is couched in vulgar, vituperative, or ad

hominem terms. See, e.g., Mitchell v. Hillsborough Cty., 468 F.3d 1276, 1286-87 (11th Cir. 2006).

        Ultimately, Plaintiff’s opposition fails to address the content of his texts in any meaningful

way. While Plaintiff might understandably prefer to focus on the President’s tweets rather than his

own texts, see Pl. Mem. at 23, the President’s statements have no bearing on the Court’s analysis.

Rather, the FBI properly dismissed Plaintiff because of potential harm to its law enforcement



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operational mission stemming from his texts, particularly given his position of significant trust,

and therefore Plaintiff cannot prevail on his First Amendment claim.

II.    PLAINTIFF’S DUE PROCESS CLAIM LACKS MERIT.

       For the reasons Defendants have already explained, Plaintiff cannot prevail on his due

process claim. See Defs. Mem. at 27-31. First, and fundamentally, as a member of the FBI SES,

Plaintiff did not enjoy protections that would allow him to be removed only for cause; rather, he

was employed at the FBI’s will. See 5 U.S.C. § 7511(b)(8). He therefore lacked a property interest

in his job, which is a prerequisite for maintaining a due process claim. See Am. Mfrs. Mut. Ins. Co.

v. Sullivan, 526 U.S. 40, 59 (1999); Lamb v. Holder, 82 F. Supp. 3d 416, 424-25 (D.D.C. 2015).

       Plaintiff claims that this well settled principle does not apply to him because—as the

argument goes—he purportedly lost his SES status as soon as AD Will signed her name to her

August 8, 2018 letter. If that’s true, then there can be no doubt that Defendants should prevail, at

least as to Plaintiff’s First Amendment and Due Process claims, because this Court would lack

jurisdiction, and the only proper forum would be the MSPB. See Graham v. Ashcroft, 358 F.3d

931, 933-36 (D.C. Cir. 2004) (Roberts, J.) (non-preference-eligible FBI special agent’s claims

precluded under CSRA); see also Fornaro v. James, 416 F.3d 63, 66-67 (D.C. Cir. 2005) (Roberts,

J.). Of course, the MSPB has already determined it lacked jurisdiction, see Def. Mem., MSPB

Decision, Ex. 10, ECF No. 30-11, and the time for Plaintiff to appeal that determination in the

ordinary course has passed, see 5 C.F.R. § 1201.114(e) (setting time limits for review); see also

MSPB Decision (issued November 15, 2018).

       Even putting aside the consequences of Plaintiff’s argument, it also lacks any basis in fact

or logic. Plaintiff was a member of the SES—and was paid an SES salary—until the effective date

of his dismissal, which was August 10, 2018, as reflected in his official government personnel



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forms. See Request for Personnel Action (SF-52), ECF No. 32-1 (showing a proposed “effective

date” of August 10, 2018); Notification of Personnel Action, ECF No. 32-2 (same). Furthermore,

as explained in the well-reasoned decision of the MSPB Administrative Judge (AJ), who rejected

Plaintiff’s argument that he was no longer a member of the SES when dismissed, Plaintiff did not

receive notice of AD Will’s decision until after DD Bowdich exercised his authority to review it.

See MSBP Decision at 6-7. Moreover, as the AJ explained, AD Will’s letter itself indicated that

her decision was subject to further review. See Will Letter at 3 (“[N]othing in this disposition

affects the ability of [another] Bureau component to address your conduct as a performance matter,

security issue, or otherwise as appropriate.”). Defendant never lost his status as an SES employee

before being dismissed and therefore did not revert to “preference eligible” status under the CSRA.

       To try to save his due process claim, Plaintiff points to a July 2018 “Last Chance”

Adjudication Agreement” document. See Pl. Mem. at 27 (citing Defs. Ex. 5, ECF No. 30-6). But

Plaintiff’s argument that this document vested in him some sort of property right cannot withstand

scrutiny. In Elgin v. Department of Treasury, 567 U.S. 1 (2012), the Supreme Court held that,

“[g]iven the painstaking detail with which the CSRA sets out the method for covered employees

to obtain review of adverse employment decisions, it is fairly discernable that Congress intended

to deny such employees an additional avenue of review in district court.” Id. at 11-12. “A series

of opinions from the Supreme Court and [the D.C. Circuit] make clear that [the CSRA’s] remedial

provisions are exclusive, and may not be supplemented by the recognition of additional rights to

judicial review having their sources outside the CSRA.” Fornaro, 416 F.3d at 66. Plaintiff’s

attempt to rely on an alleged contractual property right, not recognized in the CSRA, is therefore

foreclosed. See Doe v. Gates, 981 F.2d 1316, 1320 (D.C. Cir. 1993) (“Understandings which in

other circumstances might suggest the existence of a property right cannot do so when they are at



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odds with the intent of the legislature regarding the employment entitlements that can be

conferred.” (quotation omitted)). And, indeed, none of the cases Plaintiff cites for the proposition

that the “‘Last Chance’ Adjudication Agreement” document could serve as a basis to proceed on

his due process claim was decided in the context of the CSRA’s comprehensive regime.3

       Even if the Court were to conclude that, the CSRA notwithstanding, Plaintiff could still

base his alleged property interest in contract—there was, under these facts, no such contractual

agreement. The Court need look only to the text of the “‘Last Chance’ Adjudication Agreement”

document that Plaintiff relies on to conclude that it conferred on Plaintiff no rights, contractual or

otherwise. It is not signed by anyone in the FBI—or anyone else, for that matter, other than Plaintiff

and his counsel. See Defs. Ex. 5. Yet, for there to exist a valid contract, of course, an agreement

must be reached by all the necessary parties. See Althiabat v. Howard University, 76 F. Supp. 3d

194, 197 (D.D.C. 2014). The document was a request by Plaintiff that the FBI impose penalties

other than dismissal. See Defs. Ex. 5. And nothing in it suggests that FBI would be obligated to

take any specific action. Mere requests do not create any enforceable rights. It is also clear that

OPR’s process to evaluate Plaintiff’s conduct was still ongoing. Indeed, Assistant Director (AD)

Candice Will did not issue her decision until August 8, 2018, and, of course, DD Bowdich still had

the authority to review that decision. See Defs. Mem. at 31; see also Farrington v. Tenn., 95 U.S.

679, 683 (1877) (“A contract is executed where every thing that was to be done is done, and

nothing remains to be done.”). Plaintiff attempts to create an issue of material fact by suggesting

that AD Will allegedly “accept[ed]” Plaintiff’s request on August 6, 2018. See Pl. Mem. at 29. But


       3
          Plaintiff cites Link v. Department of Treasury, 51 F.3d 1557 (Fed. Cir. 1995), but that
decision did not endorse Plaintiff’s argument that a contractual agreement creates a property
interest that permits an employee to litigate a breach as a due process claim in federal district court.
Rather, the employee’s claim still is governed by the CRSA, and appeal is available only to the
Federal Circuit. See, e.g., Lizzio v. Dep’t of Army, 534 F.3d 1376, 1379 (Fed. Cir. 2008).

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the fact remains that the FBI never signed off on or implemented an actual last chance agreement,

and therefore there was no contract. See Reddick v. FDIC, 809 F.3d 1253, 1257 (Fed. Cir. 2016)

(finding no jurisdiction because agreement between employer and government employer was not

adopted, as reflected by the “lack of the SF-52/50”).

       The case Plaintiff cites to suggest there may have been an enforceable contract, Perry v.

Sindermann, 408 U.S. 593 (1972), is easily distinguishable. That case arose in the context of an

academic setting, and the Supreme Court concluded that the defendant college may have had some

“unwritten ‘common-law’ that certain employees shall have the equivalent of tenure.” Id. at 602.

Here, of course, there can be no such unwritten understanding that confers on government

employees a property interest in their positions. Congress, through the CSRA, set up a

comprehensive—and exclusive—scheme governing federal personnel matters. See Elgin, 567 U.S.

at 11-12. And the CSRA clearly provides that Plaintiff could be fired at will. See 5 U.S.C.

§ 2108(3) (excluding the FBI SES, among other categories of government employees, from the

definition of “preference eligible”). Unlike Perry, there is, therefore, no similar “unwritten

‘common law’”—either created by Plaintiff’s request or otherwise—that gave Plaintiff a property

interest in his position. 408 U.S. at 602.

       Because Plaintiff lacked a property interest in his position, he cannot prevail on his

constitutional due process claim. See, e.g., Lamb, 82 F. Supp. 3d at 424-25. And in any event, as

Defendants explained in their opening brief, Plaintiff had more than ample opportunity to make

his case to the FBI in response to OPR’s June 15, 2018 initial finding that Plaintiff be dismissed.

See Defs. Mem. at 30-31. Plaintiff’s response to the charges, with the assistance of counsel,

included a written response and an oral hearing to defend his actions. That is sufficient under the

Constitution. See Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 546 (1985) (“The essential



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requirements of due process . . . are notice and an opportunity to respond.”). It is untrue—contrary

to Plaintiff’s claim—that none of the process mattered simply because it was DD Bowdich who

made the ultimate decision. See Pl. Mem. at 30-31. The information that Plaintiff submitted to

OPR in his defense was detailed at length in AD Will’s letter, as was AD Will’s analysis. See Will

Letter. DD Bowdich had the benefit of that information and analysis when exercising his proper

authority to come to a different conclusion than the one AD Will reached—the one initially

recommended by OPR staff. See Defs. Mem. at 30-31; Bowdich Letter at 1-2, Defs. Ex. 6, ECF

No. 30-7. Plaintiff received proper notice and had an opportunity to respond, and the ultimate

decision maker considered the substance of that response. Due process requires no more.

III.    PLAINTIFF CANNOT PREVAIL ON HIS PRIVACY ACT CLAIM.

        A.       Plaintiff Has Not Adequately Pleaded a Privacy Act Violation with Respect
                 to Any Pre-December 12, 2017 Disclosure of His Texts.4

        Plaintiff has not adequately alleged that Defendants violated the Privacy Act with respect

to any disclosures of his texts before December 12, 2017. Plaintiff’s relevant allegations are

contained in paragraph 59 of his Complaint. There, he claims that “someone from the Department

of Justice alerted the White House to the existence of [the] texts and, at least, their general content.”

Compl. ¶ 59. And also that “officials in the White House, in turn, began to contact members of the

news media about the texts.” Id. The next paragraph discusses the December 2, 2017 news stories

about the texts. Id. ¶ 60. Plaintiff’s allegations are purely speculative and cannot survive dismissal.

But even if they occurred, there was no Privacy Act violation.



        4
          Plaintiff claims, incorrectly, that Defendants have “effectively conced[ed]” that Plaintiff
has stated a claim under the Privacy Act, because Defendants “mov[ed] only for summary
judgment as to the Privacy Act.” Pl. Mem. at 33. As is clear from Defendants’ opening
memorandum, Defendants have asked the Court to dismiss Plaintiff’s Privacy Act claim as it
relates to any pre-December 12, 2017 disclosure. See Defs. Mem. at 32.

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       Plaintiff acknowledges, as he must, that the White House is not subject to the Privacy Act.

See Pl. Mem. at 37; see also Defs. Mem. at 32-34. Because Plaintiff cannot maintain a cause of

action based on any disclosure by the White House, he is left to argue that the Department violated

the Privacy Act by “using a White House conduit to leak agency records” to the press. Pl. Mem.

at 37; see also id. at 37-38 (arguing that OIG investigative records were disclosed to the White

House “for the purpose of leaking those records for political gain”). As an initial matter, this

assertion about the purpose of the Department’s alleged provision of the texts to the White House

appears only in Plaintiff’s opposition brief, not his Complaint. “‘It is axiomatic . . . that a party

may not amend his complaint through an opposition brief.’” Sai v. TSA, 326 F.R.D. 31, 33 (D.D.C.

2018) (quoting Singh v. District of Columbia, 55 F. Supp. 3d 55, 70 (D.D.C. 2014)). Moreover, it

is not plausible. The Department knew about the texts and the general content of them since the

summer of 2017, see Declaration of Rod J. Rosenstein (Rosenstein Decl.) ¶ 5 (attached as Exhibit

A). Even under Plaintiff’s theory, the Department would have had no reason to wait several

months, until December 2017, before disclosing the texts.

       Indeed, there is an obvious, more plausible explanation for how the media became aware

of Plaintiff’s texts and reported on them on December 2, 2017: the Department disclosed their

existence and their general content on November 30, 2017 to defense counsel as potentially

exculpatory information in a criminal prosecution arising out of the Special Counsel’s

investigation. See United States v. Flynn, --- F. Supp. 3d. ---, 2019 WL 6836790, at *3 (D.D.C.

Dec. 16, 2019) (“On November 30, 2017, . . . [t]he government informed defense counsel that the

DOJ’s Inspector General (‘IG’) reviewed allegations involving certain electronic communications

of Peter Strzok . . . that showed a preference for a presidential candidate. This included information

about certain text messages between Mr. Strzok and former FBI attorney Lisa Page[.]”).



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       The existence of this more obvious explanation for the December 2, 2017 news reports

defeats the plausibility of Plaintiff’s wholly speculative assertion that the Department provided the

texts to the White House for the purpose of leaking the texts to the media. See In re U.S. Office of

Personnel Mgmt. Data Sec. Breach Litig., 928 F.3d 42, 57 (D.C. Cir. 2019) (observing that, in

both Ashcroft v. Iqbal, 556 U.S. 662 (2009), and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007),

the Supreme Court rejected the plausibility of the plaintiffs’ assertions in part because an

alternative, more obvious explanation was incompatible with the plaintiffs’ suggestion); Bryant v.

Taylor, 244 F. Supp. 3d 209, 212 (D.D.C. 2017) (“Particularly where the defendant’s allegedly

unlawful conduct has ‘an obvious alternative explanation,’ the complaint must allege facts that

‘plausibly suggest’—and are ‘not merely consistent with’—the defendant’s liability.” (quoting

Twombly, 550 U.S. at 557).

       Contrary to Plaintiff’s suggestion, moreover, the Court should not construe the Privacy Act

to limit disclosure of information from a federal agency to the head of the Executive Branch or his

advisors. See Pl. Mem. at 37-38. Notwithstanding the restriction on disclosure of records contained

in a system of records to “any person,” 5 U.S.C. § 552a(b), the Privacy Act does not purport to

restrict the President from obtaining information that could be necessary for him to exercise his

Article II duties, including supervising the Department and the FBI. Indeed, had Congress included

such a restriction in the statute—or if the Court were to interpret it to impose one—it would raise

serious separation-of-powers concerns. Cf. Free Enterprise Fund v. Public Co. Accounting

Oversight Bd., 561 U.S. 477, 492 (2010) (“[I]f any power whatsoever is in its nature Executive, it

is the power of appointing, overseeing, and controlling those who execute the laws.” (quoting 1

Annals of Cong., 463 (1789)). At a minimum, one would expect a plain statement of such a

restriction in a statute before venturing into such uncharted constitutional waters. See Ashwander



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v. Tennessee Valley Authority, 297 U.S. 288 (1936). Plaintiff’s unsupported speculation aside, the

Court should not construe the Privacy Act to prohibit open and candid communication from

agencies to the President or his advisers.5 See Crowell v. Benson, 285 U.S. 22, 62 (1932). For this

additional reason, the Court should dismiss Plaintiff’s Privacy Act claim with respect to his

allegation that the Department provided information regarding his texts to the White House.

       B.       Plaintiff Cannot Prevail on His Privacy Act Claim with Respect to the
                December 12, 2017 Release of His Texts.

                1.     The Department’s Disclosure of Plaintiff’s Texts to the Public Was
                       Permissible under the Privacy Act.

       There is no dispute that the Department publicly disclosed a subset of Plaintiff’s texts to

the public on December 12, 2017. That disclosure was permissible under the Privacy Act, and

Defendants are entitled to summary judgment regarding this aspect of Plaintiff’s case, because the

Department properly determined that it fell within a routine use in the OIG’s System of Records

Notice (SORN) for disclosures to the media. See Defs. Mem. at 34-45; see also Declaration of

Peter Winn (Winn Decl.) ¶¶ 10-18, Def. Mem. Ex. 3, ECF No. 30-4.

       Plaintiff argues that summary judgment is not appropriate because he cannot currently

“definitively prove” what system of records (if any) housed his texts. Pl. Mem. at 34. Plaintiff

himself, however, has alleged that the texts were stored on OIG’s system of records and cites the

same SORN that Mr. Winn used to conduct his analysis. See Compl. ¶ 57 (citing 72 Fed. Reg.

36,725, 36,726 (July 5, 2007); see also Winn Decl. ¶¶ 9-10. Plaintiff’s argument also ignores



       5
          To support his argument that the Privacy Act prevents disclosure of information to the
White House, Plaintiff cites Alexander v. FBI, 691 F. Supp. 2d 182 (D.D.C. 2010). In that case,
the court determined that the plaintiff could not prevail on his Privacy Act claim because a routine
use permitted disclosure of information in his background investigation to the White House. See
id. at 190-91. Because it concluded that a routine use applied, the court did not have any need to
address the more basic question of whether the Privacy Act should be read to prohibit disclosure
of information to the President. See id.

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entirely the declaration of Assistant Attorney General Stephen Boyd, which states his

understanding that “[ODAG] requested from the OIG, and the OIG provided, an initial subset of

the total universe of discovered text messages between Mr. Strzok and the FBI attorney that the

OIG considered particularly troubling.” Declaration of Stephen E. Boyd ¶ 8, Def. Mem., Ex. 2,

ECF No. 30-3. Nowhere in Plaintiff’s brief does he give any reason that the Court should not credit

Mr. Boyd’s sworn declaration. That alone should resolve the question. But, in any event, Assistant

Attorney General Boyd’s account is now corroborated by the declaration of former Deputy

Attorney General Rod J. Rosenstein, which similarly explains that the Department received the

relevant texts from OIG. See Rosenstein Decl. ¶ 9.

       The fact that the texts came from OIG does not mean, of course, that they were contained

in a “system of records,” as that term is used in the Privacy Act. See 5 U.S.C. § 552a(a)(5).6 And

if they were not—because the agency did not, in practice, retrieve the information by using a

personal identifier for Plaintiff, see McCready v. Nicholson, 465 F.3d 1, 17 (D.C. Cir. 2006)—

then Plaintiff’s Privacy Act claim would clearly fail. See, e.g., Augustus v. McHugh, 825 F. Supp.

2d. 245, 256 (D.D.C. 2011).

       Here, however, Defendants have assumed—for the sake of argument, and putting

Plaintiff’s allegations in the most favorable light possible—that OIG did maintain Plaintiff’s texts

in a system of records. See Defs. Mem. at 35. Yet, even accepting that assumption as true, Plaintiff

still cannot prevail on his Privacy Act claim, because the Department disclosed the texts pursuant




       6
         Whether Plaintiff’s texts would be contained in a FBI system of records is irrelevant to
this analysis. The undisputed fact, as established by the declarations of Mr. Boyd and Mr.
Rosenstein, is that the texts the Department released to Congress and the media came from OIG.
Thus, the relevant analysis necessarily must focus on whether OIG’s SORN contains an applicable
routine use.

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to a published routine use that applies to the OIG’s system of records. See Defs. Mem. at 36-41;

see also Winn Decl. ¶¶ 10-18; Rosenstein Decl. ¶ 16.

       Plaintiff makes several arguments in response, none of which is convincing. Plaintiff’s

suggestion that the Court should interpret the relevant routine use in OIG’s SORN, JUSTICE/OIG-

001, to apply only to disclosures “contained in official OIG reports,” Pl. Mem. at 39, misreads the

actual text of the routine use, which states that “[r]ecords in this system may be disclosed . . . [t]o

the news media and the public, including disclosures pursuant to 28 C.F.R. 50.2, unless it is

determined that release of the specific information in context of a particular case would constitute

an unwarranted invasion of personal privacy.” 72 Fed. Reg. 36,725, 36,725-26. (July 5, 2007)

(emphasis added). Nothing in that language limits the Department from providing information to

the media located in the OIG system of records only when it is part of an official OIG report. See

72 Fed. Reg. at 36,725 (describing “Categories of Records in the System,” of which “reports” are

only one). Plaintiff’s interpretation of the SORN, moreover, would lead to absurd results,

preventing the Department from commenting to the public on the details of the OIG’s work, even

on matters of great national importance, and even when there is no investigatory or law

enforcement justification for withholding the information.

       Plaintiff’s fallback argument is that the routine use in the SORN is overly broad because,

if interpreted to allow disclosures to the media when the public interest outweighed the relevant

privacy interest, it would undermine the purposes of the Privacy Act. See Pl. Mem. at 39 & n.10.

Plaintiff’s argument proves too much, because the Department, including OIG, is required, in the

context of a FOIA request, to disclose information contained in certain of its records if it

determines that the relevant privacy interests are outweighed by the public interest in disclosure.

See 5 U.S.C. § 552(b)(6), (b)(7)(C). That is the same balancing that is required by the OIG routine



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use, see 72 Fed. Reg. at 36,726, and that the Department conducted before releasing Plaintiff’s

records, see Winn Decl. ¶¶ 10-18; see also Rosenstein Decl. ¶¶ 13, 16. Congress clearly

contemplated that agencies would, and should, disclose certain material to the public where, as

here, there is a substantial public interest in doing so, even when the proposed disclosure may

implicate substantial privacy interests. See Getman v. NLRB, 450 F.2d 670, 674-75 (D.C. Cir.

1971). And, for that reason alone, an agency does not act contrary to the Privacy Act whenever the

public interest in disclosure outweighs the privacy interests of the individual in favor of public

disclosure. See 5 U.S.C. § 552a(b)(2), (b)(6), (b)(7)(C).7

       Plaintiff also claims that, if the routine use were interpreted to allow the December 12,

2017 disclosure, the routine use could not be squared with 5 U.S.C. § 552a(e)(4)(D), “or the

agency’s obligation to provide adequate notice of how records will be used.” Pl. Mem. at 39 n.10.

That argument goes nowhere. Section 552a(e)(4)(D) states only that an agency shall publish in the

Federal Register “each routine use of the record contained in the system, including the categories

of users and the purpose of such use.” The Department unquestionably published the routine use

in the Federal Register, see 72 Fed. Reg. at 36,726, and, as discussed above, the routine use plainly

describes when it authorizes disclosure to the media—i.e., at any time “unless it is determined that

release of the specific information in the context of a particular case would constitute an

unwarranted invasion of personal privacy.” Id.


       7
          To attempt to show that the routine use would somehow “circumvent” the Privacy Act,
Plaintiff cites Pilon v. U.S. Dep’t of Justice, 73 F.3d 1111 (D.C. Cir. 1996). In that case, however,
the D.C. Circuit cautioned against circumventing the Privacy Act’s exceptions to the bar against
disclosure by adopting a construction of the term “disclose” that would allow an employee to evade
the bar against disclosure just because he at one time viewed a document under permissible
circumstances. Id. at 1123. The Department here is not using a routine use to evade the Privacy
Act’s bar against disclosure; it is simply applying an existing routine use, and that routine use is
consistent with the Privacy Act’s allowance of disclosures when required by the equivalent FOIA
test, as discussed above. See Defs. Mem. at 37-40; Winn Decl. ¶¶ 10-18.

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       Plaintiff also points to testimony by the Inspector General from December 2019, in which

he said that it would be inappropriate for OIG investigators to give interviews regarding an ongoing

investigation. See Pl. Mem. at 39 (quoting Crossfire Hurricane Report Hearing before the S.

Comm. On the Judiciary, 116th Cong. (Dec. 11, 2019)). The Inspector General’s testimony,

however, did not include any analysis of the relevant routine use, or whether it would be

permissible under Privacy Act to release information, in any specific instance, to the public. The

Inspector General said that “giving preliminary ideas, advice, guidance statements, can be

misleading and you should not be releasing final conclusions until you get to the end of the

investigations.” See Pl. Resp. to Defs. Statement of Undisputed Material Facts ¶ 55d, ECF No. 36-

2. But none of those things occurred here. The Department determined that a discrete set of

information was appropriate for release because, among other reasons, doing so would be in the

public interest, and because the information would likely be public soon after it was disclosed to

Congress. See Rosenstein Decl. ¶ 18; see also Winn Decl. ¶¶ 10-18.

       Next, Plaintiff contends that there is no “fairly close relationship” between the purpose for

which the texts were collected and the purpose of their disclosure. See Pl. Mem. at 39-40. This

argument also fails. It is based on Plaintiff’s assertion that the Department “leaked” the texts “for

the purpose of priming the media pump.” Pl. Mem. at 40. This claim has no grounding in Plaintiff’s

Complaint, which alleges nothing about the purpose of the December 12 disclosure to the media,

only about its effect—i.e., that the disclosure “allowed President Trump and his allies to mount a

public relations effort.” See Compl ¶ 68 (emphasis added). But putting aside Plaintiff’s inadequate

pleadings, both the Winn declaration and the Rosenstein declaration leave no doubt that Plaintiff’s

speculation regarding the Department’s motives is baseless. The purpose of the disclosure was to

provide transparency to the public on a matter of great national interest. See Winn Decl. ¶ 17. Far



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from being some attempt to “prim[e] the media pump,” the disclosure also notably revealed

information that was potentially embarrassing to the government, see Rosenstein Decl. ¶ 15. The

disclosure was therefore consistent with the purpose of OIG’s collection of Plaintiff’s texts, which

was to look into actions by the FBI and the Department in connection with their handling of the

investigation of former Secretary Clinton’s use of a private e-mail server. See OIG Report at 395-

96; see also Britt v. Naval Investigative Serv., 886 F.2d 544, 548-49 (3d Cir. 1989). Plaintiff offers

nothing but rank speculation to suggest otherwise.

       Finally, Plaintiff fails to address the fact that the texts would have inevitably become

public, even absent the Department’s disclosure of the texts to the media. See Pl. Mem. at 40-41.

Plaintiff points out that not all of the texts from Plaintiff’s government phone were, in fact,

described in the OIG’s public report published in June 2018. Id. at 41. But Plaintiff misses the

point. Members of Congress had already requested copies of the texts at issue in this case, and the

Department determined that any law enforcement interests would not justify withholding them.

See Rosenstein Decl. ¶ 12; see also Winn Decl. ¶ 16. Congress, of course, is not subject to any

Privacy Act restrictions on its release of information to the public. See 5 U.S.C. § 552a(a)(1), (b);

Franklin v. Mass., 505 U.S. 788, 800 (1992) (explaining that the Privacy Act applies only to

“agencies”). As Mr. Winn explained, “[g]iven the politically charged nature of the text messages,”

it was “very likely” that one or more members of the requesting committees would “disclose them

to the public shortly after receiving them from the Department.” Winn Decl. ¶ 6. Plaintiff ignores

any practical view of reality, therefore, by suggesting that the texts would not become public—

particularly in light of their highly charged content and Plaintiff’s pivotal role in the investigations

into former Secretary Clinton’s use of a private e-mail server and that Plaintiff was a member of

Special Counsel Mueller’s investigative team. Mr. Winn prudently considered that fact when



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conducting his analysis under the Privacy Act, see Winn Decl. ¶ 16.8 That the relevant texts were

to be disclosed by Congress significantly influenced the Department’s decision to disclose them

to the media when it did—indeed, it had them since the summer of 2017 and did not disclose them

until December 12, 2017, in response to congressional requests, see Rosenstein Decl. ¶¶ 5, 14—

and undermines any argument that the Department erred when weighing the privacy interests under

the routine use.

       Moreover, on the other side of the private-public interest balancing, Plaintiff’s texts

displayed what a reasonable person could consider to constitute bias, notwithstanding Plaintiff’s

subsequent explanations of them. See Winn Decl. ¶ 17. In turn, Plaintiff’s statements risked

undermining public confidence in the objectivity and impartiality of the work of the FBI and the

Department. As Mr. Winn noted in his declaration, a reasonable person could have found the texts

to evidence bias by an important official in a leadership position, regarding issues in criminal

investigations in which he had a key role. The Department also had an interest in releasing the

material in order to avoid the suggestion that it was concealing information that was potentially

embarrassing to itself and the FBI. See id. ¶¶ 12, 17; Rosenstein Decl. ¶ 15. Plaintiff ignores this

aspect of the analysis, but it goes to underscore why the disclosure was permissible.




       8
          As to the portion of Mr. Winn’s analysis that considered that Plaintiff’s identity was
already public, see Winn Decl. ¶ 16, Plaintiff accuses Defendants of attempting to “rely on the
effects of their prior indiscretion as a justification for their subsequent improper disclosures to the
media.” Pl. Mem. at 40-41. But as noted above, there’s a more obvious explanation for the source
of the news reports that makes Plaintiff’s theory implausible. Mr. Winn also considered a number
of other important factors when weighing Plaintiff’s privacy interests against disclosure, including
that Plaintiff held a high-level position within the FBI and that the texts were exchanged on a
government-issued device, which was subject to monitoring. Winn Decl. ¶¶ 13-15.

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               2.      There Was No Willful or Intentional Violation of the Privacy Act.

       Even if Plaintiff could somehow plausibly establish that the disclosure of his texts violated

the Privacy Act, Plaintiff still could not prevail on his claim. Plaintiff must demonstrate not only

that the Department’s December 12, 2017 disclosure was unlawful but also that it was an

“intentional or willful” violation of the statute. See 5 U.S.C. § 552a(g)(4). It is well settled that an

agency acts in an intentional or willful manner only “by committing the act without grounds for

believing it to be lawful, or by flagrantly disregarding others’ rights under the Act.” Sussman v.

U.S. Marshals Serv., 494 F.3d 1106, 1122 (D.C. Cir. 2007) (citation omitted).

       Plaintiff does not dispute Defendants’ account of the law. See Pl. Mem. at 41-43. Nor could

he, for the reasons Defendants have explained. See Defs. Mem. at 41-42. There also cannot now

be any dispute who made the ultimate decision to release the texts—former-Deputy Attorney

General Rosenstein—or that the Department conducted ample due diligence to determine that

releasing the texts to the media would not violate the Privacy Act. See Rosenstein Decl. ¶¶ 17-19.

       To try to create an issue of material fact, however, Plaintiff raises a red herring in the guise

of an alleged question of material fact: Plaintiff’s argument rests almost exclusively on two email

chains between Mr. Winn and others produced in FOIA that, according to Plaintiff, contain

deliberative process privilege redactions. See Pl. Mem. at 42-43. Plaintiff suggests that the

redaction of the emails produced in FOIA shows the Department had not, in fact, made a decision

regarding the legality of disclosing certain of his texts as of December 12, 2017—because

otherwise, the redacted information allegedly would have been produced. See id.

       Plaintiff’s argument fails. It is entirely speculative to assume that the Department redacted

the material as deliberative in the documents Plaintiff cites. The redactions indicate only that they

were made pursuant to FOIA Exemption 5. But Exemption 5 covers several different types of



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redactions, including to protect attorney work product and the attorney-client privileges, both of

which would likely apply to Mr. Winn’s memorandum to the file documenting his legal analysis.

       In addition, Plaintiff’s is incorrect that Mr. Winn could not have concluded on December

12, 2017 that the disclosure would not violate the Privacy Act, because the deliberative process

privilege should be applied only to documents that are “predecisional” and “deliberative.” Pl.

Mem. at 43. Exemption 5 covers “all communications which, if revealed, would expose to public

view the deliberative process of an agency.” Russell v. Dep’t of the Air Force, 682 F.2d 1045, 1048

(D.C. Cir. 1982). In this instance, Mr. Winn provided analysis to ODAG on December 12, 2017,

see Winn Decl. ¶¶ 4-5; see also Rosenstein Decl. ¶ 16, and then later memorialized his analysis.

Disclosure of that analysis would have revealed the deliberative process of the Department.9

       Also, and more fundamentally, as his declaration makes clear, Mr. Winn, provided his

conclusion regarding the Privacy Act to ODAG before the public disclosure on December 12,

2017. See Winn Decl. ¶¶ 4, 18. That he later authored a memorandum to the file that contained his

analysis, as reflected in Plaintiff’s exhibits, is not unusual and does not change the fact that he

concluded on December 12, 2017 that there would be no Privacy Act violation resulting from a

public disclosure. Plaintiff’s self-serving speculation that the Winn declaration, signed under

penalty of perjury, may be false does not create a material factual issue that should not prevent this

Court from entering judgment in Defendants’ favor on Plaintiff’s Privacy Act claim.10




       9
         Either way, the Department’s FOIA redactions are irrelevant and cannot create an issue
of material fact here. And the question of whether the information contained in Mr. Winn’s intra-
Department emails and memorandum on the subject would now be discoverable, as Plaintiff
suggests, see Pl. Mem. at 42, is not presently before the Court.
       10
           Plaintiff also attempts to raise a material fact issue out of OIG’s statement in the public
record. See Pl. Mem. at 36 (citing Pl. Ex. M). Defendants cited the Inspector General’s statement
in their opening brief. See Def. Mem. at 10 n.2. Yet, that statement does not call into question Mr.

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       If there could be any doubt, the Rosenstein declaration confirms that the ultimate decision

maker regarding this issue understood that the relevant expert within the Department (i.e., Mr.

Winn) concluded that releasing the texts would not violate the Privacy Act. See Rosenstein Decl.

¶ 16. Specifically in response to Mr. Rosenstein’s concerns that the disclosure could implicate the

Privacy Act, the Department consulted with Mr. Winn—the relevant expert—to determine whether

doing so would be lawful. See id. ¶¶ 15-16. Mr. Winn determined that the disclosure to the public

was permissible under the Privacy Act. See Winn Decl. ¶ 18. And, based on that conclusion, Mr.

Rosenstein authorized the disclosure. See Rosenstein Decl. ¶¶ 16-19.

       Mr. Rosenstein’s declaration also definitively addresses Plaintiff’s only remaining

arguments that summary judgment is not appropriate because “Mr. Winn was not the official who

made the decision to release the text messages on December 12, 2017,” or that the Department

somehow allegedly failed to adequately consider the Privacy Act implications of that disclosure.

Pl. Mem. at 35, 42. The Court now has before it the declaration from the deciding official, Mr.

Rosenstein, who clearly believed that the Department would not violate the Privacy Act by

disclosing the relevant text messages to the public. See Rosenstein Decl. ¶¶ 16-19.

       Those are the facts, and they are dispositive. While Plaintiff or the Court could potentially

disagree with Mr. Winn’s Privacy Act analysis, there can be no question that any violation of that

statute was not willful or intentional. Plaintiff therefore cannot prevail on his Privacy Act claim.

                                         CONCLUSION

       For the reasons above, the Court should grant Defendants’ motion.

Dated: January 17, 2020                               Respectfully submitted,




Rosenstein’s declaration, which demonstrates that he understood public disclosure would not
violate the Privacy Act. See Rosenstein Decl. ¶ 17.

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